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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

UNITED STATES OF AMERICA,                         )    CASE NO.: 1:25CR135
                                                  )
                Plaintiff,                        )    JUDGE DONALD C. NUGENT
                                                  )
        v.                                        )
                                                  )
MICHAEL NAWALENIEC,                               )    BRIEF IN OPPOSITION TO MOTION
                                                  )    FOR PRETRIAL RELEASE
                Defendant.                        )


        Now comes the United States of America, by and through Acting United States Attorney,

Carol M. Skutnik, and Assistant United States Attorney, Michelle M. Baeppler, and for the

reasons stated below, opposes Defendant’s Motion for Pretrial Release.

I.      Facts

     This investigation began in late 2022, when a concerned citizen reported to a local police

department that Nawaleniec was trying to sell him firearms. It was learned that Nawaleniec is

prohibited by virtue of an Arson conviction in 2012.

     An ATF agent, acting in an undercover capacity, contacted Nawaleniec via a social media

platform in an effort to determine whether Nawaleniec would sell him a firearm. Nawaleniec was

willing.

        The first purchase of a firearm by Nawaleniec occurred on December 28, 2022.

Nawaleniec met the UC at a gas station on Memphis Avenue and sold him a Romarm pistol.

The transaction was captured on both audio and video. This transaction is represented by Count

1 of the indictment.
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       The second sale was of a MCD by Nawaleniec to the UC and occurred on January 4,

2023. This sale was facilitated between Nawaleniec and the UC through a series of text

messages, all of which have been preserved for evidentiary purposes. However, for this sale,

Nawaleniec sent his a relative to conduct the delivery. On this date, the UC purchased a machine

conversion device (MCD) (Count 2). Like the purchase before, this transaction was also

captured on video and audio.

       The third sale by Nawaleniec to the UC occurred on January 19, 2023, and consisted of a

sale of another MCD (Count 4) and a Steyr Arms rifle (Count 3) by Nawaleniec to the UC. This

transaction was also video and audio recorded.

       After these three transactions, law enforcement sought search warrants for the two

residences from which Nawaleniec was taking firearms and MCD’s for sale. These two

residences included one on Ardmore Avenue in Cleveland (mother’s residence) and one on

Eichorn Avenue in Cleveland (actual personal residence).

       The execution of warrants at these residences revealed multiple firearms, MCD’s and

silencers. (Counts 5, 6, 7, & 8)

       On the day the search warrants were executed, Nawaleniec agreed to an interview. He

took responsibility for all the firearms, MCD’s and silencers in both residences. His mother was

also interviewed and indicated that all the items belonged to her son. She also added that

Nawaleniec is a “doomsday prepper.”

       During his interview, Nawaleniec revealed that he “was” a fentanyl addict, but claimed

that he no longer used.




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   II.       Controlling Law & Argument

         Title 18 U.S.C. 3142 controls in this instance. More specifically, 18 U.S.C. § 3142

   provides that the government may move for detention in a case that involves —

   (f)(1)

   (A) a crime of violence . . .for which a maximum term of imprisonment of 10 years or more
   is prescribed;

   (B) an offense for which the maximum sentence is life imprisonment or death;

   (C) an offense for which a maximum term of imprisonment of ten years or more is
   prescribed in the Controlled Substances Act;

   (D) any felony if such person has been convicted of two or more offenses described in
   subparagraphs (A) through (C) of this paragraph, or two or more State or local offenses that
   would have been offenses described in subparagraphs (A) through (C) of this paragraph if a
   circumstance giving rise to Federal jurisdiction had existed, or a combination of such
   offenses; or;

   (E) any felony that is not otherwise a crime of violence that involves a minor victim or that
   involves the possession or use of a firearm or destructive device (as those terms are defined
   in section 921), or any other dangerous weapon, or involves a failure to register under section
   2250 of title 18, United States Code.

         Further, § 3142 also outlines factors to be considered in whether there are conditions of

release that will reasonably assure the appearance of the person as required and the safety of any

other person and the community, taking into account the available information concerning—

        (g)(1) the nature and circumstances of the offense charged, including whether the offense
is a crime of violence, a violation of section 1591, a Federal crime of terrorism, or involves a
minor victim or a controlled substance, firearm, explosive or other destructive device;

            (2) the weight of the evidence against the person;

            (3) the history and characteristics of the person, including —

               (A) the person’s character, physical and mental condition, family ties,
employment, financial resources, length of residence in the community, community ties, past
conduct, history relating to drug or alcohol abuse, criminal history and record concerning
appearance at court proceedings, and




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               (B) whether, at the time of the current offense or arrest, the person was on
       probation, on parole, or on other release pending trial, sentencing, appeal, or completion
       of sentence for an offense under Federal, State, or local law; and

(4) the nature and seriousness of the danger to any person or the community that would be posed
by the person’s release.

       Applying the factors to be considered under § 3142 in this instance, the government

submits Defendant presents a danger to the community that counsels in favor of detention.

       In this instance, defendant, a prohibited person, was found in possession of dozens of

firearms, MCD’s and silencers. Moreover, he was recorded not only possessing these items, but

also selling them. Some of the items he was selling, particularly machine gun conversion

devices, were in and of themselves illegal. MCD’s are devices that convert a semi-automatic

firearm into a fully automatic one.

       Further, defendant is a convicted felon, many times over. His criminal history is

consistent and unabated and is outlined as follows:

   Arson, F4, Cuyahoga County Common Pleas Court, 2012, 6 months’ imprisonment. Date of
   conviction 03/22/2012

   Vandalism, F5, 2013, 103 days jail

   Drug Possession, 2017, F5, Community Control sanctions

   Attempted Inducing Panic, F5, Vandalism, F5, 2019, 9 months’ imprisonment

   Attempted Nonsupport of Dependents, 2022, M1

       Additionally, the strength of the evidence against defendant is good. Defendant is

captured on video not only in possession of firearms, but also selling them. Further, when the

warrants were executed at the residences associated with him, he admitted that the dozens of

firearms, multiple MCD’s and silencers, all belonged to him.




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        Finally, at the time of the execution of the search warrant at the residences associated

with him, Defendant reported that he was a fentanyl user but denied recent use. Recently, at the

time of arraignment, Pretrial Services attempted to administer a urine test to Defendant, but he

would not or could not void. Defendant appeared for his arraignment, emaciated and by

appearance, in poor health. He was described to have an open and festering wound on his leg,

for which he had not sought treatment. The wound was reported by those handling him

physically, to smell from infection. Defendant claimed that this infected would was from

previous drug use that had not healed.

        At the time of his arraignment, Defendant was remanded to the custody of the U.S.

Marshall, pending trial. He was never drug tested, and given that weeks have passed, it is

unlikely that there are presently drugs in his system. However, given his self-reported history of

fentanyl use, his failure to void on the date of arraignment, and his overall physical appearance

and condition, it is not unrealistic to conclude that there are indicia of current drug use present.

        Further, Defendant also presents a risk of flight. Defendant is unemployed, owns no

property here in the district and reports no assets. Moreover, he reports having no relationship

with his minor child. Such is the condition of one without stable ties to the community, and one

that poses a risk of flight.

        Contrary to Defendant’s assertion, not having a passport is not determinative of one’s risk

of flight. Fleeing the jurisdiction does not mean that one cannot literally and physically run, but

rather, contemplates international flight, as well as domestic flight. A ‘flight risk’ is simply a

person who is likely to abscond from the jurisdiction . . . not only by foot, but also by plane, train

or automobile.




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           Certainly, having broken bones in one’s leg, makes movement more difficult, but that

does not mean defendant cannot get into a car, on a bus, or on a plane. Defendant’s argument

that he can’t run, and thus he is not a ‘flight risk’ is unpersuasive.

    III.      Conclusion

           Based upon the law and for the reasons outlined above, the government believes that

Defendant is both a danger to the community and a flight risk, and as such should be detained

pending trial.



                                                        Respectfully submitted,

                                                        CAROL M. SKUTNIK
                                                        Acting United States Attorney

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